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13 STEADFAST NETWORKS, LLC
14                     UNITED STATES DISTRICT COURT
15                 CENTRAL DISTRICT COURT OF CALIFORNIA
                             WESTERN DIVISION
16
17   ALS SCAN, INC.,                           Case No.: 2:16-cv-05051-GW-AFM
18   a Maryland Corporation,
                                               DEFENDANT STEADFAST
19   Plaintiff,                                NETWORKS, LLC’S
20                                             MEMORANDUM IN SUPPORT OF
     v.                                        ITS MOTION FOR AN AWARD OF
21                                             ATTORNEYS’ FEES AND
22   CLOUDFLARE, INC.                          EXPENSES
     a Delaware corporation,
23
     et al.                                    Hearing Date: June 18, 2018
24                                             Hearing Time: 8:30 a.m.
25   Defendants.                               Place: Courtroom 9D, 9th Fl.
                                                      350 West 1st Street
26                                                    Los Angeles, CA, 90012
27                                             Judge: Hon. George H. Wu
28



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 1                  MEMORANDUM OF POINTS AND AUTHORITIES
 2                                    INTRODUCTION
 3           Defendant Steadfast Networks, LLC (“Steadfast”) submits this memorandum
 4 in support of its motion for attorneys’ fees and expenses. For the reasons that
 5 follow, this Court should award Steadfast attorneys’ fees in the amount of $578,878
 6 and non-taxable costs in the amount of $35,208.74, pursuant to § 505 of the
 7 Copyright Act, § 1117 of the Lanham Act, and Federal Rule of Civil Procedure
 8 54(d).1 Steadfast also seeks a fair estimate of future fees in the amount of $19,611.
 9           The record fully supports the award of attorneys’ fees and “full costs” sought
10 by Steadfast, the “prevailing party” who obtained a final judgment on the merits. In
11 short, this litigation was completely unnecessary. Indeed, ALS Scan, Inc.’s (“ALS”)
12 case against Steadfast had inherent factual and legal deficiencies from the start,
13 making the result obvious. For example, ALS filed suit against Steadfast despite
14 knowing that each time it provided Steadfast (or Flixya Entertainment, LLC
15 (“Flixya”)) with a DMCA notice, the alleged infringements were taken down–just
16 as Congress intended. This Court also recognized that ALS’s “theory has no basis in
17 the case law.” Dkt. 443, p. 20. Nonetheless, ALS sought business-crushing statutory
18 damages, in an amount that could have potentially reached $366,150,000. See John
19 L. Ambrogi Declaration (“JLA Decl.”) ¶ 5.
20           Further, the fees and costs that Steadfast requests compensation for were
21 necessary and reasonable. Steadfast’s victory arrived late in the proceedings, ending
22 only a short time before the trial date. Steadfast incurred fees and costs in defending
23 against ALS’s meritless case for over a year, which included responding to
24 discovery, addressing discovery issues, taking four depositions, opposing ALS’s
25 motion for summary judgment, moving for summary judgment, and preparing for
26 trial.
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         On May 11, 2018, Steadfast submitted a Form CV-59 Application. Dkt. 528.

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 1         In sum, Steadfast’s reasonable fees and costs should be awarded not only to
 2 deter ALS and others from advancing meritless claims, but also to encourage
 3 defendants to defend themselves from meritless claims, especially claims that seek
 4 to improperly expand the scope of secondary liability.
 5                              FACTUAL BACKGROUND
 6         ALS is an adult entertainment producer and a serial litigant. A simple search
 7 in a legal database shows that ALS is not a stranger to the courts. ALS dragged a
 8 number of unrelated companies in this lawsuit, bringing dubious copyright and
 9 trademark infringement claims from the beginning. See Dkt. 443, p. 1 & n. 1
10 (reviewing the parties that were involved in this lawsuit). On November, 11, 2016,
11 ALS filed its second amended complaint, alleging three claims against Steadfast:
12 contributory copyright infringement; vicarious copyright infringement; and
13 contributory trademark infringement. Dkt. 64.
14         Motion to Dismiss. Steadfast moved to dismiss based on a failure to state a
15 claim, Dkt. 90, which the Court granted on February 16, 2017, Dkt. 111.
16 Regarding the contributory copyright infringement claim, this Court noted ALS
17 only alleged that “Steadfast ‘hosts’ pirate sites, including Imagebam, and that
18 Plaintiff has sent numerous notifications to Steadfast of infringing content on
19 Imagebam, but Steadfast has failed to implement or enforce a repeat infringer
20 policy by removing Imagebam from its servers.” Dkt. 111, p. 6. This Court also
21 found that ALS’s complaint had no allegations that supported a vicarious
22 infringement claim. Id., p. 9. As for the contributory trademark infringement claim,
23 this Court, agreeing with Steadfast, found that ALS “fail[ed] to allege any facts”
24 that would support the claim, or “even any facts establishing what the purported
25 trademark entailed.” Id.
26         Third Amended Complaint. On March 30, 2017, ALS filed the third
27 amended complaint, maintaining the same three claims against Steadfast and
28 adding only sparse allegations. Compare Dkt. 148 with Dkt. 64; see also Dkt. 443,

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 1 p. 2 n.2. In the complaint, ALS sought relief which included actual damages in
 2 a sum no less than $10,000,000. Dkt. 148 at 19:20-21. (ALS, however, later
 3 elected to seek statutory damages, but not until August 11, 2017. Dkt. 229.)
 4         Discovery and ADR. On May 22, 2017, less than two months after filing the
 5 third amended complaint, ALS provided its responses to the first set of requests for
 6 admissions. See JLA Decl. ¶ 5; id. Ex. A. ALS responded that none of the
 7 hyperlinks contained in its notice of alleged infringements were still active. See
 8 JLA Decl. Ex. A, at 1:17-2:10. A month later, the parties requested alternative
 9 dispute resolution, Dkt. 204, which this Court ordered the next day, Dkt. 206.
10         Five days after that, ALS started the ADR process out by threatening
11 business-crushing statutory damages. See JLA Decl. Ex. B, at 4:10-26 (ALS
12 Responses to Second Set of Interrogatories From Steadfast). ALS informed
13 Steadfast that it intended to hold Steadfast liable for the “infringement of 2441
14 ALS works on imagebam.com.” 2 Id. at 4:14-15. At minimum, ALS claimed that
15 “the award would be $1,830,750,” if the jury concluded that Steadfast was liable.
16 Id. at 4:17. Moreover, ALS claimed it would argue that the alleged infringement
17 was willful, which would potentially amount to a total of $366,150,000. See id.
18 at 4:14-21. Moreover, ALS sought an additional amount up to $2,000,000 for its
19 contributory trademark infringement claim. See id. at 4:22-26. Accordingly, the
20 stakes were enormous in this litigation.
21         On August 1, 2017, this Court referred the matter for settlement
22 proceedings. Dkt. 228. On August 21, 2017, there was a settlement conference,
23 which was not successful. Dkt. 244. Namely, the judge felt that the parties were
24 too far apart to proceed to meaningful negotiations.
25         ALS’s Motion for Partial Summary Judgment. On December 1, 2017, ALS
26
27   2
    Steadfast disputes, and does not concede, that there were 2,441 individual works as
28 defined by the Copyright Act. Steadfast is noting the amount for illustrative
   purposes only and not conceding the legal validity of ALS’s assertions.

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 1 filed its motion for partial summary judgment, arguing that Steadfast was
 2 contributorily liable for copyright and trademark infringement and that Steadfast
 3 failed to meet certain conditions of the DMCA safe harbor. Dkt. 296; see also Dkt.
 4 297. Despite previously acknowledging that all the images were removed, ALS
 5 told the Court that nothing was done in response to ALS’s notices of alleged
 6 infringement. Dkt. 297, p. 15. ALS also concocted arguments by cherry-picking
 7 soundbites from two cases that, if read in context, provided zero support for ALS’s
 8 case. (This will be expanded upon in the Argument section). Steadfast had to
 9 respond to this factually baseless and legally deficient motion. See Dkt. 315-2. The
10 Court denied ALS’s motion in its entirety. Dkt. 360.
11         Vicarious Copyright Infringement Claim. Besides making an appearance in
12 the motion to dismiss proceedings and third amended complaint, ALS’s vicarious
13 copyright infringement claim lurked in the shadows. See Dkt. 111, p. 8. On
14 December 28, 2017, counsel for Steadfast sent its prefiling conference letter
15 regarding plans for summary judgment. See JLA Decl. ¶ 6. Specifically, Steadfast
16 provided its position on ALS’s claim of vicarious copyright infringement,
17 explaining how the claim failed as a matter of law. Id. At the teleconference,
18 ALS’s counsel recognized the merit in Steadfast’s position, giving off the
19 impression that it might be dropped. Id. Steadfast sent two follow-up emails;
20 Steadfast, however, received no response until weeks later on the day Steadfast
21 filed its motions for summary judgment. Id. To rid itself of this meritless nuisance
22 that lurked in the background, Steadfast had to brief and move for summary
23 judgment on this claim. Id.; see also Dkt. 344, p. 15-20.
24         Steadfast’s Motions For Summary Judgment. As made abundantly clear in
25 its prior briefing, ALS conflated the law regarding the DMCA’s safe harbor
26 conditions with the law pertaining to its secondary liability claims, and vice versa.
27 In recognition of this, Steadfast filed and briefed two motions for summary
28 judgment. In opposing the motion as it pertained to the contributory copyright and

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 1 trademark infringement claims, ALS copied and pasted its unsuccessful motion for
 2 partial summary judgment. Compare Dkt. 297, p. 11-14, 24-25, with Dkt. 365, p.
 3 10-13, 24-25.
 4         The Court granted Steadfast’s motion for summary judgment on the merits,
 5 dismissing all of ALS’s claims with prejudice. Dkt. 443. As for ALS’s contributory
 6 copyright and trademark infringement claims, this Court concluded that ALS’s
 7 “theory has no basis in the case law.” Dkt. 443, p. 20. As this Court recognized,
 8 ALS theory is one that, if accepted, would hold liable service providers “that refuse
 9 to cancel services to a customer, upon receiving generalized knowledge that future
10 acts of infringement are almost certain to occur on that customer’s platform.” Id.
11 ALS conceded its vicarious copyright infringement claim, and thus the Court also
12 dismissed this claim with prejudice. See id., p. 6-7.
13                                      ARGUMENT
14         Steadfast prevailed on the merits against ALS’s contributory copyright
15 infringement, vicarious copyright infringement, and contributory trademark
16 infringement claims. During the 18 months’ worth of litigation, Steadfast did what
17 was necessary to defend itself against ALS’s frivolous claims. For reasons that
18 follow, this Court should award fees and expenses for all of ALS’s claims under the
19 applicable standards.
20 I.      STEADFAST SHOULD BE AWARDED ATTORNEYS’ FEES UNDER
21         THE COPYRIGHT ACT
22         Under the Copyright Act, the court “may allow the recovery of full costs by
23 or against any party,” including “a reasonable attorney’s fee to the prevailing party
24 as part of the costs.” 17 U.S.C. § 505. “The Supreme Court [has] identified the
25 following non-exclusive list of factors to guide the award or denial of attorney’s
26 fees: ‘frivolousness, motivation, objective unreasonableness (both in the factual and
27 in the legal components of the case), and the need in particular circumstances to
28 advance considerations of compensation and deterrence.’” Perfect 10, Inc. v.

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 1 Giganews, Inc., 847 F.3d 657, 675 (9th Cir. 2017) (citation omitted). The Ninth
 2 Circuit has “added as additional considerations: the degree of success obtained, the
 3 purposes of the Copyright Act, and whether the chilling effect of attorney’s fees
 4 may be too great or impose an inequitable burden on an impecunious plaintiff.” Id.
 5 (citation omitted). “These factors ‘may be considered but are not exclusive and need
 6 not all be met.’” Id.
 7         The Ninth Circuit recognizes the important role of copyright-action
 8 defendants:
 9         [b]ecause copyright law ultimately serves the purpose of enriching the
10         general public through access to creative works, it is peculiarly important that
11         the boundaries of copyright law be demarcated as clearly as possible. To that
12         end, defendants who seek to advance a variety of meritorious copyright
13         defenses should be encouraged to litigate them …. Thus a successful defense
14         of a copyright infringement action may further the policies of the Copyright
15         Act every bit as much as a successful prosecution of an infringement claim by
16         the holder of a copyright.
17 Id. (citation omitted).
18         A.     Steadfast Prevailed Completely on the Merits.
19         The degree of success weighs heavily in Steadfast’s favor. “This factor
20 weighs more in favor of a party who prevailed on the merits, rather than on a
21 technical defense.” DuckHole Inc. v. NBCUniversal Media LLC, 2013 U.S. Dist.
22 LEXIS 157304, at *4 (C.D. Cal. Oct. 25, 2013); see Fantasy, Inc. v. Fogerty, 94
23 F.3d 553, 559-60 (9th Cir. 1996) (noting the significance of a defendant prevailing
24 on the merits in a copyright action). “A successful defense furthers the purposes of
25 the Copyright Act just as much as a successful infringement suit does.” Inhale, Inc.
26 v. Starbuzz Tobacco, Inc., 755 F.3d 1038, 1043 (9th Cir. 2014).
27         Here, Steadfast completely defeated all of ALS’s secondary copyright
28 infringement claims, on the merits. After successfully moving to dismiss the second

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 1 amended complaint, Dkt. 111, and opposing ALS’s motion for partial summary
 2 judgment, Dkt. 360, Steadfast’s motion for summary judgment put these claims to
 3 rest, Dkt. 443. See Dkt. 443, p. 6-7, 21 (granting Steadfast’s motion for summary
 4 judgment as to ALS’s vicarious and contributory copyright infringement claims).
 5         Accordingly, the degree of success factor weighs heavily in Steadfast’s favor,
 6 and thus supports an award of attorneys’ fees.
 7         B.     Steadfast’s Defense Furthers the Purposes of the Copyright Act.
 8         Steadfast’s defense of ALS’s claims was the type that “furthers the purposes
 9 of the Copyright Act ….” Inhale, 755 F.3d at 1043, and one that like-defendants
10 should be encouraged to litigate, see Giganews, 847 F.3d at 675. Indeed, Steadfast’s
11 successful “defense furthers the Act’s underlying goal by protecting purported
12 copyright holders from suits that are not tethered by sound facts or authorities.”
13 Actuate Corp. v. Aon Corp., 2012 U.S. Dist. LEXIS 118346, at *5 (N.D. Cal. Aug.
14 21, 2012). Steadfast’s defense of ALS’s claims also further defined the contours of
15 secondary liability, and thus furthered the purposes of the Copyright Act.
16         In contrast, ALS put forth a theory that, if accepted, would have radically
17 expanded the scope of secondary liability. See Dkt. 443, p. 20. ALS’s theory would
18 have hindered the purposes of not only the Copyright Act, but also the DMCA.
19 ALS’s theory, if accepted, would have stifled innovation and destroyed companies
20 like Dropbox, Amazon, Facebook, and Twitter. In short, ALS’s claims were an
21 attack on the Internet as we know it. Accordingly, this factor–furthering the purpose
22 of the Copyright Act–weighs heavily in favor of awarding attorneys’ fees.
23         C.     ALS Advanced Unreasonably Frivolous Theories of Contributory
24                and Vicarious Copyright Infringement.
25         The frivolousness of ALS’s suit weighs in favor of awarding attorney’s fees.
26 “A case may be deemed frivolous only when the ‘result is obvious or the …
27 arguments of error are wholly without merit.’” Karam v. City of Burbank, 352 F.3d
28 1188, 1195 (9th Cir. 2003) (citation omitted); see also Perfect 10, Inc. v.

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 1 Giganews, Inc., 2015 U.S. Dist. LEXIS 54063, at *20 (C.D. Cal. Mar. 24, 2015)
 2 (noting that a frivolous claim “is one that, in either the factual or legal assertions
 3 …, involv[es] ‘fantastic or delusional scenarios’”) (citations omitted). The lawsuit
 4 “is less likely to be considered frivolous when there is ‘very little case law directly
 5 apposite.’” Karam, 352 F.3d at 1195-96 (citation omitted). For the following
 6 reasons, both of ALS’s secondary copyright infringement claims were frivolous.
 7                1. ALS’s Contributory Copyright Infringement Claim was wholly
 8                   without merit.
 9         First, and foremost, this Court already found that ALS’s “theory has no basis
10 in the case law.” Dkt. 443, p. 20. As this Court noted, ALS theory is one that, if
11 accepted, would hold liable service providers “that refuse to cancel services to a
12 customer, upon receiving generalized knowledge that future acts of infringement
13 are almost certain to occur on that customer’s platform.” Id. Indeed, under ALS’s
14 rejected theory, any business that provided support services to Facebook, Twitter,
15 and Dropbox would be liable because there is generalized knowledge that future
16 acts of infringement are almost certain to occur on those websites. In sum, the
17 Internet as we know it would cease to exist. Accordingly, this shows that ALS’s
18 contributory copyright infringement claim is frivolous.
19         Second, ALS pursued this lawsuit notwithstanding the fact that well-
20 established, binding precedent made the result a foregone conclusion. The Ninth
21 Circuit’s material-contribution test presumes that the defendant has “continue[d] to
22 provide access” to the plaintiff’s “specific infringing material.” See, e.g.,
23 Giganews, 847 F.3d at 664, 671 (noting that “Perfect 10 repeatedly declined to
24 [provide machine-readable Message-IDs],” and holding that, “absent machine-
25 readable Message-IDs, there were no simple measures available to remove
26 infringing material”). Indeed, if access to a plaintiff’s specific infringing material
27 has been disabled, then it necessarily follows that there must have been some
28 measure in place to “prevent[] further damage” to specific infringing material.

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 1         Importantly, on May 22, 2017, ALS submitted its responses to the first set of
 2 requests for admissions in which it admitted: that all of the hyperlinks in the
 3 notices Easton sent to Steadfast were inactive; and, that it could not provide a list
 4 of any active links containing the allegedly copyright images. JLA Decl. Ex. A, at
 5 1:17-2:10. What’s more, ALS made these admissions less than two months after it
 6 filed the third amended complaint. See Dkt. 148 (TAC filed on March 20, 2017).
 7         The significance of these facts is that ALS pursued this litigation despite
 8 knowing that its purported images were taken down each time it provided either
 9 Steadfast (or Flixya) with notice. No case law provides for liability under these
10 circumstances, and this has been established at least since Napster. See A&M
11 Records v. Napster, Inc., 239 F.3d 1004, 1022 (9th Cir. 2001) (requiring “actual
12 knowledge that specific infringing material is available using its system, that it
13 could block access to the system by suppliers of the infringing material, and that it
14 failed to remove the material”). The alleged, at-issue images here were removed
15 before ALS filed suit, and thus Steadfast obviously had a simple measure to have
16 the alleged at-issue material removed.
17         Moreover, the present case is not a situation in which there is little case law
18 directly apposite. Napster was decided in 2001, and Amazon.com was decided in
19 2007, which relied on well-established legal principles. Accordingly, ALS pursued
20 this lawsuit despite knowing facts that precluded any success under binding
21 precedent. There was no case law supporting ALS’s position, but a wealth of
22 precedent since Napster supporting Steadfast. To impose liability under such
23 circumstances would lead to the Internet’s extinction.
24         For all the reasons above, the Court should find that ALS’s lawsuit is
25 frivolous, and thus the factor weighs in favor of an award to Steadfast.
26                2. ALS’s Vicarious Infringement Claim Was Similarly Without Merit
27         ALS’s vicarious infringement claim went beyond the boundaries of
28 frivolousness. In order to establish a vicarious infringement claim, a plaintiff must

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 1 prove that the defendant received a direct financial benefit. “Financial benefit
 2 exists where the availability of infringing material ‘acts as a “draw” for
 3 customers.’” A&M Records v. Napster, Inc., 239 F.3d 1004, 1023 (9th Cir. 2001)
 4 (citation omitted). This simple rule presented an obvious roadblock. To have any
 5 success, ALS would have needed evidence of the following: After viewing a still-
 6 unidentified adult fan forum website that made available imagebam.com
 7 hyperlinks to the alleged specific infringements in this case, clients were drawn to
 8 Steadfast’s IT infrastructure services. ALS would have had to argue this fantastic
 9 and delusional scenario to have any success on its vicarious-infringement claim.
10         In its Statement of Uncontroverted Facts, Steadfast asserted the following:
11 “On information and belief, Steadfast has never gained a client because said client
12 allegedly observed ALS’s content on <imagebam.com>.” Dkt. 392, ¶ 63. In
13 response, ALS simply raised an evidentiary objection. Id. Clearly, from the
14 beginning of the lawsuit, ALS had neither evidence nor a legal basis to claim that
15 Steadfast had a direct financial benefit from any of the alleged underlying
16 infringement. Despite knowing the frivolousness of the claim, JLA Decl. ¶ 7, ALS
17 made Steadfast expend the time and resources necessary to eliminate the frivolous
18 claim in its motion for summary judgment.
19         Accordingly, the frivolousness factor weighs heavily in favor of granting
20 Steadfast an award of attorneys’ fees.
21         D.     ALS Filed Suit with an Improper Motive.
22         ALS’s motivation in bringing this lawsuit is inconsistent with the Copyright
23 Act. First, ALS puts it best: “Steadfast did not in any way promote or take any
24 affirmative steps to encourage any infringing activity.” Dkt. 396, ¶ 6. As discussed
25 above, ALS pursued this lawsuit notwithstanding the fact that binding precedent
26 made the result of its material-contribution claim a foregone conclusion. Steadfast
27 (and Flixya) had procedures in place that protected third party’s intellectual
28 property rights, resulting here in the complete removal of the alleged specific

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 1 infringements of ALS’s images. It is unclear how one can possibly have a proper
 2 motive when pursuing a meritless claim against a party that does not promote or
 3 take any affirmative steps to encourage any infringing activity.
 4         Second, if not a large settlement, ALS wanted to test an outlandish theory
 5 that, if accepted, would allow ALS to bully any company that hosted third-party
 6 content or provided services to such a company’s website. On one hand, ALS may
 7 call it protecting its copyrighted works; others, however, may characterize these
 8 tactics as tortious interference. If ALS’s goal was to protect its rights, it would
 9 have actually sued the obvious party, Flixya, who was the primary focus of this
10 lawsuit. (Moreover, at the time ALS filed the lawsuit, Flixya was located in Santa
11 Clara, California, a fact easily discoverable online, see Dkt. 340-3.)
12         Third, ALS’s improper motive was also made clear by its lack of interest in
13 doing anything to reasonably protect its copyrighted works. ALS failed (and fails)
14 to employ any measures to reasonably protect its copyrights, such as Digital Rights
15 Management (DRM). ALS allows its subscribers to download the entire library of
16 images and upload the images around the Internet without consequence. Instead of
17 employing any DRM or any other automated technology, ALS pays Steve Easton
18 to send out takedown notices to remote parties. If ALS sincerely cared about its
19 copyright works, it would have taken reasonable measures to protect its works.
20 Instead, ALS has an incentive to make infringement easy for its subscribers,
21 allowing them to file lawsuits without ever whacking the real mole. Accordingly,
22 this shows that ALS’s motivation is improper.
23         For all the foregoing reasons, this Court should find that the improper-
24 motivation factor weighs heavily in Steadfast’s favor.
25         E.     Objective Unreasonableness
26         ALS’s claim is objectively unreasonable because ALS “should have known
27 from the outset that its chances of success in this case were slim to none.” SOFA
28 Entertainment, Inc. v. Dodger Prods., Inc., 709 F.3d 1273, 1280 (9th Cir. 2013).

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 1 For the same reasons showing frivolousness, ALS’s claims were objectively
 2 unreasonable. Indeed, this Court has already found that ALS’s “theory has no basis
 3 in the case law.” Dkt. 443, p. 20.
 4         As explained above, from the beginning of this lawsuit, it was clear that a
 5 material contribution claim could not succeed. ALS pursued this litigation, despite
 6 knowing that its images were taken down each time it provided Steadfast (and
 7 Flixya) with notice of the alleged infringements. Accordingly, it logically follows
 8 that Steadfast had a simple measure in place for dealing with alleged
 9 infringements. ALS’s lawsuit is nonsensical.
10         Moreover, ALS’s vicarious infringement claim had absolutely no basis and
11 was precluded by Ellison v. Robertson, 357 F.3d 1072, 1078-79 (9th Cir. 2004). As
12 explained before, ALS would have had to come up with a fantastical theory for this
13 claim to succeed. For these reasons, ALS’s claims are objectively unreasonable.
14 The Court should find that this factor heavily weighs in favor of an award.
15         F.     Considerations of Compensation and Deterrence Favor an Award
16         An award of attorneys’ fees is warranted because it will “discourage serial
17 litigants from bringing unmeritorious suits and then unnecessarily driving up
18 litigation costs in order to drive a settlement.” Giganews, 2015 U.S. Dist. LEXIS
19 54063, at *36-37. “While one of the goals of the Copyright Act is to discourage
20 infringement, it is not the only goal.” Actuate Corp., 2012 U.S. Dist. LEXIS
21 118346, at *5. Here, it is clear that, even solely on the factors already discussed
22 above, the purposes of the Copyright Act would be served by compensating
23 Steadfast and deterring ALS. There are several additional considerations that show
24 this factor weighs heavily in Steadfast’s favor.
25         First, Steadfast’s should be compensated for its successful defense, which
26 furthered the purposes of the Copyright Act. Steadfast’s defense more fully defined
27 the contours of secondary liability. Such defense warrants compensation because it
28 will further protect “purported copyright holders from suits that are not tethered by

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 1 sound facts or authorities.” Actuate Corp., 2012 U.S. Dist. LEXIS 118346, at *5.
 2 Accordingly, Steadfast should be compensated for its meritorious defense.
 3         Second, ALS (and others like ALS) should be deterred from filing suits with
 4 “theor[ies] ha[ving] no basis in the case law.” Dkt. 443, p. 20. ALS unnecessarily
 5 dragged Steadfast into this lawsuit; the law and facts were clear even before ALS
 6 filed suit. A fee here will further deter ALS and others from filing suits based on
 7 meritless theories.
 8         Third, ALS unnecessarily filed suit against a number of parties, seeking to
 9 recover an enormous amount of statutory damages if it prevailed at trial. Indeed,
10 ALS sought business-crushing statutory damages, potentially–according to ALS’s
11 position–an amount up to $366,150,000. ALS wanted to force settlements, as it has
12 accomplished at least twice already in this lawsuit. Such conduct does not promote
13 but only hinders the purposes of the Copyright Act, and thus it should be deterred.
14         Fourth, ALS’s misuse of copyright law as a means to shut down legally
15 operated businesses must be deterred. Although one purpose of copyright law is to
16 discourage infringement, it is not, however, a means to shut down businesses who
17 follow the law. ALS’s suit has never been about its copyrights; indeed, Steadfast
18 clearly acted to prevent damage to the alleged infringements, which was known by
19 ALS prior to it even filing suit. See JLA Decl. Ex. A, at 1:17-2:10. Meaning,
20 ALS’s goal was to use copyright law to interfere with legitimate businesses, a goal
21 contrary to the Copyright Act. As this Court recognized, Steadfast had no practical
22 or legal reason to terminate Flixya’s account. See Dkt. 443 (“[T]he Court is not
23 convinced that Steadfast had any reason, legal or practical, to terminate Flixya’s
24 account and power down its servers.”). Simply, ALS’s lawsuit was an attack on the
25 Internet and a shake-down attempt against Steadfast, and such future attacks and
26 abuse of copyright law must be deterred. Indeed, ALS shows no signs of stopping,
27 as it has already filed a notice of appeal despite the Court saying its theory has no
28 basis in the law. See Dkt. 527.

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 1         For all these reasons, Steadfast should be awarded attorneys’ fees to
 2 compensate for its losses and to also deter ALS (and others) from bringing future
 3 frivolous lawsuits. Accordingly, this factor heavily weighs in favor of an award.
 4         As shown here, all the factors weigh in Steadfast’s favor. In sum, this Court
 5 should grant Steadfast’s motion for an award of fees under the Copyright Act.
 6 II.     STEADFAST SHOULD BE AWARDED ATTORNEYS’ FEES UNDER
 7         THE LANHAM ACT
 8          “Section 35(a) of the Lanham Act provides that ‘[t]he court in exceptional
 9 cases may award reasonable attorney fees to the prevailing party.’ … An action
10 may be considered exceptional ‘[w]hen a plaintiff's case is groundless,
11 unreasonable, vexatious, or pursued in bad faith.’” Secalt S.A. v. Wuxi Shenxi
12 Constr. Mach. Co., 668 F.3d 677, 687 (9th Cir. 2012) (citations omitted).
13         Here, this case is exceptional for several reasons. First, this case was
14 exceptional because it did not involve ALS’s trademark. See Dkt. 344, p. 21-22.
15 ALS failed to show any “use” of its mark in “commerce” as required under the
16 Lanham Act. Indeed, ALS’s third amended complaint has no allegation pertaining
17 to ALS’s mark being used in commerce. It is clear that a copyright notice does not
18 constitute use of a trademark. In short, this case only concerned ALS’s copyrights.
19         Second, ALS ignored controlling law, relying unreasonably on a case
20 concerning a jury instruction, i.e., Louis Vuitton. (Louis Vuitton concerned goods
21 bearing its mark that were sold online, i.e., commerce, without permission.)
22 Moreover, in responding to Steadfast’s motion for summary judgment, ALS
23 intentionally ignored Steadfast’s arguments. Instead of furthering the litigation,
24 ALS copied and pasted its failed motion for summary judgment. Compare Dkt.
25 297, p. 11-14, 24-25, with Dkt. 365, p. 10-13, 24-25. This was unacceptable, done
26 in bad faith, and, most importantly, “exceptional.” For reasons described
27 throughout, it is clear that this lawsuit was filed in bad faith. Accordingly,
28 attorneys’ fees are warranted under the Lanham Act.

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 1 III.    THE REQUESTED FEES WERE NECESSARY AND REASONABLE
 2         In determining an award, a district court uses the lodestar method. See Intel
 3 Corp. v. Terabyte Int’l, Inc., 6 F.3d 614, 622 (9th Cir. 1993). “[T]he district court
 4 must first determine the presumptive lodestar figure by multiplying the number of
 5 hours reasonably expended on the litigation by the reasonable hourly rate.” Id.
 6 (citing Hensley v. Eckerhart, 461 U.S. 424, 433 (1983)). Second, the district court
 7 may adjust the “‘presumptively reasonable’ lodestar figure based upon the” Kerr
 8 factors. Id.; see also Hensley, 461 U.S. at 433 (“This calculation provides an
 9 objective basis on which to make an initial estimate of the value of a lawyer’s
10 services.”). The Kerr factors include the following: (i) “time and labor required;”
11 (ii) “novelty and difficulty of the questions;” (iii) “skill requisite to perform the
12 legal services properly;” (iv) “preclusion of other employment due to acceptance of
13 the case;” (v) “customary fee;” (vi) “contingent or fixed nature of the fee; (vii)
14 “limitations imposed by the client or the case;” (viii) “amount involved and the
15 results obtained;” (ix) “experience, reputation, and ability of the attorneys;” (x)
16 “undesirability of the case;” (xi) “nature of the professional relationship with the
17 client;” and, (xi) “[a]wards in similar cases.” Id. (citation omitted).
18         A.     Steadfast’s Attorneys’ Rates Are Reasonable
19         “An attorney’s rate is ‘reasonable’ for the purpose of a fee award if it
20 comports with ‘prevailing market rates in the relevant community, regardless of
21 whether plaintiff is represented by private or nonprofit counsel.’” Giganews, 2015
22 U.S. Dist. LEXIS 54063, at *45 (citation omitted). “The relevant community is
23 generally defined as ‘the forum in which the district court sits.’” Van Skike v. Dir.,
24 OWCP, 557 F.3d 1041, 1046 (9th Cir. 2009) (citation omitted). “[T]he proper scope
25 of comparison … extends to all attorneys in the relevant community engaged in
26 equally complex Federal litigation, no matter the subject matter.” Prison Legal
27 News v. Schwarzenegger, 608 F.3d 446, 455 (9th Cir. 2010) (internal quotes
28 omitted). “[E]vidence that a billing rate was the usual rate the attorney charges for

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 1 his or her services is evidence that the rate is comparable to the market rate.”
 2 Giganews, 2015 U.S. Dist. LEXIS 54063, at *14-15. “Billing rates usually reflect,
 3 in at least a general way, counsel’s reputation and status (i.e., as partner, associate,
 4 or law clerk).” Moore v. James Matthews & Co., 682 F.2d 830, 840 (9th Cir. 1982).
 5 Attorney affidavits “regarding prevailing fees in the community, and rate
 6 determinations in other cases … are satisfactory evidence of the prevailing market
 7 rate.” United Steelworkers of Am. v. Phelps Dodge Corp., 896 F.2d 403, 407 (9th
 8 Cir. 1990). For the following reasons, the evidence highlights the reasonableness of
 9 Steadfast’s rates.
10         First, the fact that Steadfast “paid the rates for which they now seek
11 reimbursement is evidence the rates are reasonable ….” Maloney v. T3Media, Inc.,
12 2015 U.S. Dist. LEXIS 86183, at *14 (C.D. Cal. May 27, 2015). Indeed, the rate
13 that an attorney “can command is itself highlight relevant proof ….” Id. (citation
14 omitted). Here, Partridge Partners charged Steadfast the standard rates for this case.
15 JLA Decl. ¶ 10. These rates are comparable to, if not significantly lower than, the
16 “prevailing market rates” in the Central District of California. See id. ¶ 19. Several
17 courts in this district have approved of similar rates, if not much higher rates in
18 similar cases. See id.
19         Second, the attorneys’ standard rates are reasonable in light of the fact that
20 the rates are much lower than average for the nature of this case and other attorneys’
21 rates in comparable cases. In 2007, almost a decade before the present case was
22 filed, a court in this district held that “attorney rates ranging from $390 per hour to
23 $1,002.96 per hour were reasonable for the Los Angeles area ….” Giganews, 2015
24 U.S. Dist. LEXIS 54063, at *59 (citing Masimo Corp. v. Tyco Health Care Group,
25 L.P., 2007 U.S. Dist. LEXIS 101987 (C.D. Cal. Nov. 5, 2007)). In that same case,
26 which was decided in 2015, the Court found rates ranging from $705-930 for
27 partners, as well as $660-690 for associates, reasonable in a similar case.
28 Accordingly, this Court should find that Steadfast’s attorneys’ rates are reasonable.

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 1         B.     The Hours that Steadfast’s Attorneys Billed Are Reasonable
 2         The attorneys for Steadfast billed a reasonable number of hours. In
 3 determining the number of hours for which compensation is sought, Steadfast took a
 4 very conservative approach. First, the time ticket diaries were reviewed before the
 5 bill was initially sent to the client, and that time was often either reduced or
 6 completely stricken as a matter of counsel’s billing discretion. JLA Decl. ¶¶ 10, 24.
 7 (describing how duplicative and seemingly unnecessary entries were reduced or
 8 eliminated). Second, the time entries were reviewed again in preparation of this
 9 motion, resulting in more time that was reduced or stricken. See id. ¶ 21(indicating
10 reductions totaling $11,425.50). Accordingly, after two rounds of reductions, the
11 hours that Steadfast seeks compensation for is only a portion of the hours worked on
12 this case. See id.
13         The resulting number of hours that Steadfast requests compensation for is
14 reasonable, especially given this case’s importance, stakes, complexity, and
15 duration. From vacated default (Dkt. 76) to the entry of judgment (Dkt. 520),
16 Steadfast has been in this litigation for almost a year and a half. In that time,
17 Steadfast has prevailed on a motion to dismiss, defeated ALS’s motion for partial
18 summary judgment, and moved successfully on its motion for summary judgment.
19 Lastly, Steadfast had to prepare for, what was predicted to be, a 10-day trial.
20 IV.     THE COURT SHOULD ALSO AWARD STEADFAST’S FAIR
21         ESTIMATE OF FUTURE FEES
22         Motions for attorneys’ fees “need not ‘be supported at the time of filing with
23 the evidentiary material bearing on the fees.’” Giganews, 847 F.3d at 676 (citing
24 Fed. R. Civ. P. 54). Instead, Rule 54(d)(2)(B)(iii) only requires “a party to ‘provide
25 a fair estimate’ of the amount of fees sought.” Id.
26         Here, Steadfast requests compensation for the fees incurred but not yet billed,
27 as well as a fair estimate of futures fees through June 18, 2018. See JLA Decl. ¶¶
28 32-34; see id. Exs E and F. Exhibit E is a chart of the work performed, time, and

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 1 fees accumulated for this case from May 1, 2018, through May 14, 2018. Id. ¶ 33.
 2 The fees and time, however, have not yet been formally processed through
 3 Partridge’s billing system. Id. The hours and fees amount to $11,263.50. Id.
 4 Similarly, Exhibit F is a chart that fairly estimates future work and fees for this case,
 5 through June 18, 2018. Id. ¶ 34. The estimate is based on the expected reply briefing
 6 on the motion for attorneys’ fees, and the time necessary for preparing for and
 7 arguing this motion. Id. The hours and fees amount to $8,347.50. Id.
 8         Accordingly, Steadfast respectfully requests the Court to award additional
 9 fees in the amount of $19,611.
10 V.      THE COURT SHOULD AWARD REASONABLE EXPENSES
11         The Copyright Act permits courts to award a prevailing party “recovery of
12 full costs.” 17 U.S.C. § 505. In the Ninth Circuit, “full costs” under § 505 include
13 non-taxable costs, which are in addition to but outside of the 28 U.S.C. § 1920’s
14 scope. Twentieth Century Fox Film Corp. v. Entm’t Distrib., 429 F.3d 869, 885 (9th
15 Cir. 2005). Courts have found recoverable a variety of non-taxable costs, such as
16 data hosting, printing, e-discovery, copying, travel, and hotels. See Giganews, 2015
17 U.S. Dist. LEXIS 54063, at *89; In re Aspartame Antitrust Litigation, 817 F.
18 Supp.2d 608, 614-15 (E.D. PA. 2011); Identity Arts v. Best Buy Enter., 2008 U.S.
19 Dist. LEXIS 119865, at *29 (N.D. Cal. Mar. 24, 2008). The same is true under the
20 Lanham Act. See Grove v. Wells Fargo Fin. Cal., Inc., 606 F.3d 577, 580 (9th Cir.
21 2010) (“[W]e repeatedly have allowed prevailing plaintiffs to recover non-taxable
22 costs where statutes authorize attorney’s fees awards to prevailing parties.”).
23         Here, Steadfast has incurred a total of $35,208.74 in expenses and costs that
24 were necessary to its defense. JLA Decl. ¶¶ 35-37; see also id. Exs. I-L. Most of the
25 incurred costs were from necessary litigation support services provided by a vendor,
26 D4, LLC. JLA Decl. ¶ 35. D4’s services included data hosting, e-discovery, and
27 other litigation support services, see id. (citing Exhibit I detailing $18,396.11 in
28 costs), as well as printing and copying costs, see id. (citing Exhibit J amounting to

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 1 $3,734.98 in costs). The remaining necessary costs consist of in-house copies,
 2 travel, hotel, and miscellany. See id. ¶ 35 (citing Exhibit K at $1,544.70, and Exhibit
 3 L at $11,532.95). These costs were necessary to Steadfast’s successful defense. Id. ¶
 4 35. As cited above, courts routinely find these costs necessary to litigation and find
 5 these costs recoverable.
 6         Steadfast also notes that the non-taxable costs and expenses here were not
 7 included in its Application to the Clerk to Tax Costs. See Dkt. 528; Dkt. 528-1. In
 8 its Application, Steadfast requests a total of $14,484.68 for its taxable costs. See id.
 9 In the event that the Clerk does compensate it for the full amount of taxable costs,
10 Steadfast requests that the Court compensate it for the difference. Steadfast will
11 supplement the record if necessary.
12         Accordingly, this Court should award Steadfast the full costs and expenses
13 incurred in its defense against ALS’s meritless claims. In the event that the Clerk
14 does not compensate Steadfast for the requested amount of taxable costs, Steadfast
15 also asks the Court to award Steadfast the difference.
16 VI.     Conclusion
17         For the foregoing reasons, Steadfast respectfully asks this Court to grant its
18 motion, awarding it $578,878 in fees and $35,208.74 in non-taxable costs and
19 expenses. Pursuant to Steadfast’s fair estimate of future fees, Steadfast also requests
20 an award of $19,611.
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 1                                               Respectfully submitted,
 2                                               JOHN L. AMBROGI
 3                                               COLIN T.J. O’BRIEN
                                                 PARTRIDGE PARTNERS, P.C.
 4
 5                                               PAUL D. SUPNIK
 6
     Dated: May 14, 2018                     By: /s/John L. Ambrogi
 7                                               John L. Ambrogi
 8                                               Attorneys for Steadfast Networks, LLC
 9
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 1                                 PROOF OF SERVICE
 2
   I, Colin T.J. O’Brien, certify that I am an attorney at law, licensed to practice in the
 3 State of Illinois and I am admitted to appear before the United States District Court
 4 for the Central District of California, and a true copy of the foregoing document
   DEFENDANT STEADFAST NETWORKS, LLC’S MEMORANDUM IN
 5 SUPPORT OF ITS MOTION FOR AN AWARD OF ATTORNEYS’ FEES
 6 AND EXPENSES was served via electronic filing to the following parties in this
   action via their counsel:
 7
 8         ALS Scan, Inc.
 9
     A true copy of the foregoing document was hand delivered to:
10
11 Hon. George H. Wu
   U.S. District Court
12
   350 W. 1st Street
13 Courtroom 9D
14 Los Angeles, CA 90012
15 Via attorney service
16
          I declare under penalty of perjury under the laws of the United States that
17
   the foregoing is true and correct.
18
19
20 Dated: May 14, 2018                             /s/ Colin T.J. O’Brien
                                                   Attorney for Defendant
21                                                 Steadfast Networks LLC
22
23
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25
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